                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION


REBECCA MITCHELL,

       Plaintiff,
                                             Case No.
                                             Jury Demanded
v.

AARON’S, INC,

       Defendant.


                                    COMPLAINT FOR DAMAGES


       Comes now Rebecca Mitchell and files her Complaint. As set forth below, Defendant

Aaron’s, Inc. has violated Ms. Mitchell’s rights under Title VII of the of the Civil Rights Act of

1964, as amended (“Title VII”). In support, Ms. Mitchell states as follows:

                                JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      The unlawful employment practices alleged below were committed within the

jurisdiction of the United States District Court for the Western District of Tennessee, Eastern

Division.

                                               PARTIES

       3.      Plaintiff Rebecca “Becky” Mitchell is a female, adult resident of Newburn, Dyer

County, Tennessee.
        4.      At all times relevant to this complaint, Defendant Aaron’s, a Georgia corporation,

has been continuously doing business in the State of Tennessee and the City of Dyersburg, Dyer

County, and Defendant Employer has continuously had at least fifteen employees.

        5.      At all relevant times Defendant Employer has continuously been an employer

engaged in an industry affecting commerce within the meaning of Sections 701(b), (g) and (h) of

Title VII, 42 U.S.C. §§ 2000e(b), (g) and (h).

        6.      More than thirty days prior to the institution of this lawsuit, Plaintiff filed charges

of discrimination alleging violations of Title VII with the Equal Employment Opportunity

Commission and the Commission issued a right to sue notice on February 22, 2018. All conditions

precedent to the institution of this lawsuit have been fulfilled.

                                         STATEMENT OF CLAIM

        7.      Since at least approximately August 2015 and continuing through February 21,

2017,when Plaintiff was discharged, Defendant Employer has engaged in unlawful employment

practices in violation of Sections 703(a) and 704(a) of Title VII, 42 U.S.C. § 2000e-2(a) § 2000e-

3(a).

        8.      The unlawful employment practices involved subjecting Becky Mitchell to sexual

harassment because of her sex, female, as follows:

             a. Ms. Mitchell was employed by Defendant Employer as a sales manager at Aaron’s

                in Dyersburg, Tennessee in August 2015.

             b. Rick Sims was the store’s general manager. Curt Jones was the regional manager.

             c. From the beginning of her employment, Ms. Mitchell was subjected to unwelcome

                sexual harassment by Mr. Sims.




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d. Mr. Sims made disparaging comments about Plaintiff’s weight. He instructed her

   to wait on him by, among other things, pouring his coffee and picking up his food.

   When Plaintiff complained to Mr. Sims, he told her he would run the store his way

   and that Plaintiff had to do what he said because he paid her.

e. Plaintiff was called a b____h at work and in front of customers.

f. While at work at the Aaron’s store in Dyersburg, Mr. Sims also attempted to

   embrace and kiss Plaintiff on numerous occasions, and when she rebuffed Mr.

   Sims, he informed her that he was the boss and could do anything he wanted.

g. Mr. Sims told Plaintiff to “use what god gave her” and approach male customers,

   not women, to collect account payments.

h. Mr. Sims threw things at Plaintiff and verbally abused her at work in front of other

   employees and customers.

i. Mr. Sims did not treat other employees the way he treated Plaintiff, including other

   female employees who, unlike Ms. Mitchell, did not rebuff his advances and

   allowed his hugs and kisses.

j. On October 3, 2016, Plaintiff called the corporate harassment hotline and reported

   Mr. Sims’ on going harassment.

k. In response to Plaintiff’s complaint, rather than changing his behavior, Mr. Sims

   asked other employees to “have his back” and not to “joke” with Plaintiff or she

   would “tell” on them.

l. Subsequently, Aaron’s Corporate Human Resources came on-site to the Dyersburg

   store and interviewed other employees. Mr. Sims sat in on the interviews. During




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                that visit, the HR representative said to Plaintiff regarding her complaints about the

                hostile environment at Aaron’s: “If it is so bad why are you still here?”

             m. In November or December 2016, Plaintiff had a follow-up meeting with Mr. Jones

                and Corporate HR. At this meeting, Plaintiff received a Corrective Action Form for

                purportedly engaging in “inappropriate conduct.” Upset, Plaintiff said to Mr. Jones

                that it was not appropriate for Mr. Sims to hug, touch and kiss female employees.

                In response, Mr. Jones said: “Rick [Sims] is not getting what he needed at home.”

             n. In January 2017, Corporate HR again came to the Dyersburg store and interviewed

                Plaintiff. Plaintiff had been keeping a journal of what happened to her at Aaron’s,

                which she provided the HR representative.

             o. On February 21, 2017, after Mr. Sims and Plaintiff had a confrontation, Mr. Jones

                terminated Plaintiff for alleged “inappropriate conduct.”

             p. Plaintiff contacted HR to to request the return of her journal and was informed the

                HR would retain it “to protect Aaron’s.”

       9.       The conduct complained of in the paragraphs above was sufficiently pervasive and

severe to alter the terms and conditions of Ms. Mitchell’s employment and create a hostile working

environment.

       10.      The effect of the conduct complained of in the paragraphs above has been to deprive

Ms. Mitchell of equal employment opportunities and to otherwise adversely affect her status as an

employee because of her sex.

       11.      The unlawful conduct also involved subjecting Ms. Mitchell to retaliatory

discharge for her complaints about being sexually harassed, which deprived Ms. Mitchell of equal




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employment opportunities and to otherwise adversely affect her status as an employee because of

retaliation.

        12.    Defendant has exhibited malice and indifference to Plaintiff’s rights and caused her

embarrassment, humiliation and damage to her emotional health

                                       PRAYER FOR RELIEF

        Wherefore, the Plaintiff Rebecca Mitchell sues the Defendant Aaron’s Inc. for the

following:

               A.        Appropriate back pay, with prejudgment interest, in amounts to be

        determined at trial;

               B.        Rightful-place reinstatement or front pay;

               C.        Past and future pecuniary losses in amounts to be determined at trial

        resulting from the Defendant’s unlawful employment practices;

               D.        Nonpecuniary losses in amounts to be determined at trial resulting from the

        Defendant’s unlawful employment practices, including emotional and psychological pain

        and suffering;

               E.        Punitive damages in amounts to be determined at trial for Defendant’s

        malicious and/or reckless conduct l;

               F.        Attorney’s fees;

               G.        Such further relief as the Court deems necessary and proper; and

               H.        The costs of this action.

                                       JURY TRIAL DEMAND

        Plaintiff demands a jury to try this case.




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Respectfully submitted,

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